                         EXHIBIT A
Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                Description: Exhibit A Invoice 01065, Page 1 of 12
                                         10 E. Doty St., Suite 600
                                       Madison, Wisconsin 53703-3392
                                               608-286-2302
                                            www.BurnsBair.com

Official Committee of Unsecured Creditors of                             Issue Date :        2/17/2023
The Diocese of Rochester, New York
                                                                                  Bill # :      01065



Matter: Insurance

                             PROFESSIONAL SERVICES RENDERED


Date      Timekeeper       Narrative                                              Hours       Amount
1/1/2023 Kacy Gurewitz Continue drafting memorandum summarizing                     1.80       $756.00
                       comprehensive review of New York bad faith law for
                       use in connection with potential settlement and
                       litigation strategy (1.8);
1/2/2023 Kacy Gurewitz Prepare slide deck re various insurance-related              1.40       $588.00
                       presentations for potential use at upcoming January
                       settlement conference (1.0); conference with T. Burns
                       re same (.4);
1/2/2023 Nathan Kuenzi Continue drafting revised version of memorandum              0.60       $252.00
                       regarding potential direct claims against the
                       Diocese's insurers (.6);
1/2/2023 Jesse Bair    Review and edit revised version of insurance                 1.00       $625.00
                       overview presentation for January settlement
                       conference, including associated policy analysis
                       (1.0);
1/2/2023 Jesse Bair    Review and edit revised version of number of                 0.30       $187.50
                       occurrence presentation for potential use at January
                       settlement conference (.3);
1/2/2023 Jesse Bair    Correspondence with T . Burns and L. Au re                   0.20       $125.00
                       suggested changes to revised versions of the
                       insurance overview and number of occurrence
                       presentation (.2);
1/2/2023 Jesse Bair    Review the US Trustee's summary objection to the             0.20       $125.00
                       RSA (.2);
1/2/2023 Timothy Burns Participate in call with J. Bair re settlement               1.60     $1,120.00
                       conference strategy (.2); work re creation of slide
                       deck re various insurance-related presentations for
                       potential use at upcoming January settlement
                       conference (.6); conference with K. Gurewitz re same
                       (.4); participate in call with I. Scharf re preparations
                       for upcoming settlement conference (.4);
1/2/2023 Jesse Bair    Participate in call with T. Burns re settlement              0.20       $125.00
                       conference strategy (.2) ;
    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 2 of 12
1/2/2023 Jesse Bair      Review T. Burns summary re proposed presentations         0.20    $125.00
                         for January settlement conference (.1); review
                         correspondence with T. Burns and I. Scharf re same
                         (.1);
1/2/2023   Jesse Bair    Review correspondence with PSZJ and state court           0.10     $62.50
                         counsel re upcoming meeting (.1);
1/2/2023   Jesse Bair    Correspondence with B. Michael re Claro valuations        0.10     $62.50
                         (.1);
1/2/2023   Jesse Bair    Review settling insurers' brief in support of standing    0.90    $562.50
                         to object to the RSA (.9);
1/2/2023   Jesse Bair    Review settling insurers' summary objection to the        0.80    $500.00
                         RSA (.8);
1/2/2023   Jesse Bair    Review LMI's additional summary objection to the          0.40    $250.00
                         RSA (.4);
1/2/2023   Jesse Bair    Review First State's additional summary objection to      0.30    $187.50
                         the RSA (.2); analyze the First State policy (.1);
1/3/2023   Leakhena Au Review and respond to emails from T. Burns re               0.10     $42.00
                         insurance settlement conference presentations (.1);
1/3/2023   Jesse Bair    Participate in state court counsel meeting re strategy    1.10    $687.50
                         for January settlement conference (1.1);
1/3/2023   Jesse Bair    Preliminary review of draft presentation re First State   0.20    $125.00
                         for use in January settlement conference (.1);
                         correspondence with L. Au and T. Burns re potential
                         edits to same (.1);
1/3/2023   Jesse Bair    Participate in conference with T. Burns re January        0.10     $62.50
                         settlement conference strategy and related
                         presentations (.1);
1/3/2023   Leakhena Au Revise number of occurrence and alleged late notice         0.90    $378.00
                         presentations based on feedback received from
                         partners (.4); analyze caselaw relied on by CNA (.5);
1/3/2023   Leakhena Au Research and prepare presentation re First State            4.60   $1,932.00
                         coverage issues for potential use at upcoming
                         January settlement conference (4.6);
1/3/2023   Timothy Burns Meet with L. Au re First State assignment re              1.70   $1,190.00
                         settlement conference (.1); review and revise
                         insurance settlement conference presentations (1.6);
1/3/2023   Brian Cawley Continue working on LMI/Interstate presentation in         3.30   $1,386.00
                         preparation for settlement conference (2.8); research
                         New York case law re reasonableness of settlement
                         issue (.5);
1/3/2023   Kacy Gurewitz Conference with L. Au re First State claim values (.2);   0.20     $84.00
1/3/2023   Timothy Burns Participate in state court counsel meeting re strategy    1.20    $840.00
                         for January settlement conference (1.1); follow up call
                         with J. Bair re same (.1);




    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 3 of 12
1/3/2023 Timothy Burns   Review First State's objection to RSA (.2); review and     2.30   $1,610.00
                         respond to correspondence with state court counsel
                         re state court counsel meeting (.1); continue work re
                         creation of slide deck re various insurance-related
                         presentations for potential use at upcoming January
                         settlement conference (1.2); participate in call with I.
                         Scharf re settlement conference (.5); correspondence
                         with PSZJ and J. Bair re settlement conference
                         preparation (.3);
1/4/2023 Leakhena Au     Assist B. Cawley with LMI/Interstate claims analysis       0.30    $126.00
                         and overall coverage research (.3);
1/4/2023 Leakhena Au     Revise and edit expected intended, late notice, bad        3.70   $1,554.00
                         faith, and LMI/Interstate settlement conference
                         presentations based on additional partner feedback,
                         including several conferences with T. Burns re same
                         (3.7);
1/4/2023 Timothy Burns   Revise settlement conference presentations (.5);           6.70   $4,690.00
                         meet with L. Au re same (.1); participate in call with
                         the Diocese, PSZJ, and state court counsel re the
                         upcoming January settlement conference (1.4); revise
                         settlement conference presentation on expected
                         intended (1.0); meet with L. Au re same (.4); revise
                         late notice presentation (.9); meet with L. Au re same
                         (.2); review and revise expected/intended
                         presentation (.6); meet with L. Au re same (.2); call
                         with J. Bair re call with debtor and follow up (.1);
                         revise LMI/Interstate coverage defenses presentation
                         (.5); revise bad faith presentation (.8);
1/4/2023 Brian Cawley    Revise and edit LMI/Interstate settlement conference       1.50    $630.00
                         presentation based on partner feedback (1.2); revise
                         insurance coverage chart in presentation to reflect
                         most recent coverage information (.3);
1/4/2023 Jesse Bair      Participate in call with the Diocese, PSZJ, and state      1.70   $1,062.50
                         court counsel re the upcoming January settlement
                         conference (1.4); participate in post-call with PSZJ
                         and state court counsel re outcome of meeting with
                         Diocese and next-steps (.3);
1/4/2023 Jesse Bair      Review and edit presentation re LMI/Interstate lack of     0.30    $187.50
                         consent to settle provisions for use in January
                         settlement conference (.2); additional analysis re the
                         LMI and Interstate policies (.1);
1/4/2023 Jesse Bair      Review correspondence with state court counsel re          0.10     $62.50
                         settlement offers and status (.1);
1/4/2023 Jesse Bair      Participate in conference with T. Burns re settlement      0.10     $62.50
                         conference insurance strategy (.1);
1/5/2023 Leakhena Au     Revise First State and consent to settle presentations     1.50    $630.00
                         based on feedback from T. Burns, including various
                         conferences with T. Burns (1.5);




    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 4 of 12
1/5/2023 Timothy Burns    Review and revise First State draft presentation (.2);       2.30   $1,610.00
                          meet with L. Au re same (.2); revise consent to settle
                          presentation (.7) meeting with L. Au re same (.3);
                          further revisions to First State presentation (.2); call
                          with I. Scharf re presentations (.2); call with J. Bair re
                          same (.2); additional call with I. Scharf re same (.1);
                          review I. Scharf outline re settlement conference
                          opening (.2);
1/5/2023   Alyssa Turgeon Analyze various case pleadings to create settlement          1.40    $504.00
                          conference preparation binder for use by T. Burns
                          (1.4);
1/5/2023   Brian Cawley Discuss edits to LMI/Interstate presentation with T.           1.20    $504.00
                          Burns (.2); implement partner edits to presentation
                          (.7); finalize presentation on LMI/Interstate issues for
                          potential use at upcoming settlement conference (.3);
1/5/2023   Brian Cawley Analysis re Prudential Lines case for potential                0.40    $168.00
                          relevance to case insurance issues (.4);
1/5/2023   Brian Cawley Create supplemental presentation re LMI/Interstate             3.70   $1,554.00
                          coverage issues in preparation for January
                          settlement conference (3.7);
1/5/2023   Brian Cawley Research New York law re effective denials of                  1.20    $504.00
                          coverage (1.2);
1/5/2023   Jesse Bair     Review and edit revised presentation re First State          0.10     $62.50
                          exposure (.1);
1/5/2023   Jesse Bair     Participate in call with T. Burns re settlement              0.10     $62.50
                          conference strategy (.1);
1/5/2023   Jesse Bair     Review correspondence from I. Scharf and I. Nasatir          0.10     $62.50
                          re draft insurance presentations for the January
                          settlement conference (.1);
1/6/2023   Jesse Bair     Participate in call with Claro and PSZJ re case status       0.20    $125.00
                          (.2);
1/6/2023   Jesse Bair     Participate in conference with T. Burns re settlement        0.30    $187.50
                          conference strategy and preparations (.1); participate
                          in conference with T. Burns and state court counsel re
                          same (.2);
1/6/2023   Jesse Bair     Review I. Scharf's draft outline re proposed opening         0.30    $187.50
                          for upcoming settlement conference (.2); conference
                          with T. Burns re same (.1);
1/6/2023   Timothy Burns Meet with J. Bair re settlement conference                    1.10    $770.00
                          preparation and strategy (.2); meet with state court
                          counsel re same (.2); reviewed I. Nasatir's
                          suggestions re settlement conference presentations
                          (.2); meet with L. Au re same (.1); review email from I.
                          Scharf re preparation for settlement conference and
                          9019 litigation (.1); re-review I. Scharf's draft outline
                          re proposed opening for settlement conference (.2)
                          meet with J. Bair re same (.1);
1/6/2023   Leakhena Au Continue analyzing case law re particular elements of           1.90    $798.00
                          potential direct claims against the Diocese's insurers
                          (1.9);

    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 5 of 12
1/6/2023 Leakhena Au     Revise expected/intended settlement conference              0.30    $126.00
                         presentation based on comments from co-counsel
                         and T. Burns (.3);
1/6/2023   Karen Dempski Research and identify Diocese of Camden trial               0.30    $108.00
                         transcripts for use by T. Burns in connection with
                         ongoing case issues (.3);
1/6/2023   Karen Dempski Research and identify certain RSA materials for             0.30    $108.00
                         review by T. Burns in connection with ongoing case
                         issues (.3);
1/7/2023   Timothy Burns Review the settling insurers' response briefing in          4.10   $2,870.00
                         preparation for January settlement conference (.4);
                         review response to adjournment motion (.2); review
                         the parties' various settlement conference
                         participation letters (.4); review the settling insurers'
                         summary objection (.9); review the settling insurers'
                         standing brief (1.2); review LMI's additional
                         objections (.6); review case law cited therein (.4);
1/8/2023   Timothy Burns Review and revise summary overview of settlement            1.30    $910.00
                         conference insurance presentations (.4); review First
                         State summary Objection and supporting brief (.4),
                         review LMI's amended summary objection (.1);
                         review trustee's summary objection (.2); review
                         additional settlement conference participation letters
                         of Interstate, First State, U.S. Trustee, and various
                         survivor attorneys (.2);
1/8/2023   Leakhena Au Continue analyzing case law re particular elements of         4.70   $1,974.00
                         potential direct claims against the Diocese's insurers
                         (4.7);
1/8/2023   Jesse Bair    Review I. Nasatir comments on draft expected or             0.10     $62.50
                         intended settlement conference presentation (.1);
1/8/2023   Jesse Bair    Review I. Nasatir comments on draft lost policy and         0.10     $62.50
                         number of occurrences settlement conference
                         presentations (.1);
1/8/2023   Jesse Bair    Continue analyzing I. Scharf's proposed opening             0.40    $250.00
                         statement for the January settlement conference (.4);
1/8/2023   Jesse Bair    Draft revised insurance overview presentation for the       1.30    $812.50
                         January settlement conference opening statement
                         (1.2); correspondence with T. Burns re same (.1);
1/9/2023   Jesse Bair    Participate in conference with internal team re case        0.10     $62.50
                         developments and ongoing case projects (.1);
1/9/2023   Jesse Bair    Draft further revised version of insurance overview         0.80    $500.00
                         presentation for the January settlement conference,
                         incorporating additional information re insurer bad
                         faith and responses to the insurers' purported
                         coverage defenses (.8);
1/9/2023   Jesse Bair    Review I. Scharf correspondence to state court              0.10     $62.50
                         counsel re settlement conference strategy (.1);
1/9/2023   Jesse Bair    Review and edit latest draft of the number of               0.30    $187.50
                         occurrence settlement conference presentation (.3);



    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 6 of 12
1/9/2023 Jesse Bair    Review and edit revised draft of the settlement            0.40    $250.00
                       conference presentation re CNA's lost policy
                       argument (.2); conference with N. Kuenzi re same
                       and additional potential arguments (.2);
1/9/2023 Jesse Bair    Review and edit revised late notice presentation for       0.60    $375.00
                       potential use at the January settlement conference
                       (.3); analyze 2d Circuit case law re ability, if any, to
                       impute priest's knowledge to the Diocese in
                       connection with same (.3);
1/9/2023 Jesse Bair    Review and edit revised version of the expected or         0.70    $437.50
                       intended settlement conference presentation (.7);
1/9/2023 Jesse Bair    Review and edit revised version of the CNA bad faith       0.40    $250.00
                       presentation for potential use at the January
                       settlement conference (.4);
1/9/2023 Jesse Bair    Review and edit revised draft of the LMI/Interstate        0.30    $187.50
                       overview presentation for potential use at the January
                       settlement conference (.2); review and edit related
                       presentation re lack of consent to settle provisions in
                       the LMI and Interstate policies (.1);
1/9/2023 Jesse Bair    Participate in conference with PSZJ and T. Burns re        1.20    $750.00
                       strategy for the January settlement conference (.8);
                       participate in follow-up meeting with T. Burns re same
                       and additional preparations needed for settlement
                       conference (.4);
1/9/2023 Jesse Bair    Participate in state court counsel meeting re strategy     1.00    $625.00
                       for the upcoming settlement conference (.9); post-call
                       discussion with T. Burns re same (.1);
1/9/2023 Nathan Kuenzi Participate in BB team meeting re case status and          0.10     $42.00
                       ongoing research projects (.1);
1/9/2023 Brian Cawley Participate in team meeting regarding status of the         0.10     $42.00
                       case and assignments (.1);
1/9/2023 Kacy Gurewitz Participate in BB team meeting re case                     0.10     $42.00
                       developments and needed research projects (.1);
1/9/2023 Nathan Kuenzi Participate in conference with J. Bair re additional       0.20     $84.00
                       factual analysis needed in connection with lost
                       policies issues (.2);
1/9/2023 Leakhena Au Participate in BB team meeting re case status and            0.10     $42.00
                       ongoing research projects (.1);
1/9/2023 Timothy Burns Review correspondence with I. Scharf re settlement         3.20   $2,240.00
                       conference strategy meeting (.1); conference with
                       internal BB team re case developments, strategy, and
                       assignments (.1); participate in conference with PSZJ
                       and J Bair re settlement conference strategy (.8);
                       participate in follow-up meeting with J. Bair re same
                       and additional preparations needed for settlement
                       conference (.4); review claim valuation charts (.4);
                       participate in meeting with state court counsel re
                       settlement conference strategy (.9); post-call
                       discussion with J. Bair re same (.1); conference with
                       J. Bair re assignment of rights under indemnity policy
                       (.2); conference with N. Kuenzi re same and
                       supplemental research needed (.2);
    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 7 of 12
1/9/2023 Nathan Kuenzi Additional analysis re lost policy materials for           0.10     $42.00
                        evidence of excess coverage (.1);
1/9/2023 Leakhena Au Supplemental factual analysis in connection with late        0.20     $84.00
                        notice settlement conference presentation (.2);
1/9/2023 Nathan Kuenzi Analysis re alleged late notice issues (.1);               0.10     $42.00
1/9/2023 Brian Cawley Revise settlement conference presentation re CNA            0.50    $210.00
                        coverage denials (.5);
1/9/2023 Nathan Kuenzi Prepare for and participate in discussion with T.          0.20     $84.00
                        Burns addressing LMI arguments regarding
                        assignment (.2);
1/9/2023 Nathan Kuenzi Analyze case law re assignment of insurance rights         3.60   $1,512.00
                        under indemnity policies (2.4); draft email
                        memorandum summarizing research results (1.2);
1/10/2023 Timothy Burns Detailed preparations for upcoming settlement             5.60   $3,920.00
                        conference (5.6);
1/10/2023 Timothy Burns Travel to Rochester for mediation [billed at 1/2 travel   4.60   $1,610.00
                        time] (4.6);
1/10/2023 Nathan Kuenzi Analyze cases cited by LMI in support of its purported    2.60   $1,092.00
                        anti-assignment argument (2.0); draft summary of
                        findings in response to J. Bair questions (.6);
1/10/2023 Kacy Gurewitz Analysis re the impact, if any, of anti-assignment        0.50    $210.00
                        provisions under New York law (.5);
1/10/2023 Jesse Bair    Travel to Rochester for mediation [billed at 1/2 travel   7.20   $2,250.00
                        time] (7.2);
1/10/2023 Jesse Bair    Review and edit most recent iteration of the              0.40    $250.00
                        settlement conference stipulated judgment
                        presentation (.4);
1/10/2023 Jesse Bair    Analyze N. Kuenzi email memorandum distinguishing         0.30    $187.50
                        assignment case law cited by LMI in its RSA
                        objection (.3);
1/10/2023 Jesse Bair    Draft revised insurance coverage summary overview         0.70    $437.50
                        for use during upcoming settlement conference (.7);
1/10/2023 Jesse Bair    Additional analysis of insurance exposure in              0.20    $125.00
                        preparation for upcoming settlement conference (.2);
1/11/2023 Timothy Burns Participate in day 1 of multi-day settlement              8.50   $5,950.00
                        conference (8.5);
1/11/2023 Timothy Burns Additional preparations in advance of day 1 of multi-     1.00    $700.00
                        day settlement conference (1.0);
1/11/2023 Jesse Bair    Prepare for day 1 of multi-day settlement conference      0.80    $500.00
                        (.8);
1/11/2023 Jesse Bair    Participate in day 1 of multi-day settlement              8.50   $5,312.50
                        conference (8.5);
1/12/2023 Kacy Gurewitz Additional analysis of proofs of claim in connection      2.70   $1,134.00
                        with First State exposure analysis (2.7);
1/12/2023 Leakhena Au Analyze proofs of claim in connection with First State      2.10    $882.00
                        exposure analysis (2.1);
1/12/2023 Nathan Kuenzi Examine issues relating to Midland policy (.5);           0.50    $210.00
1/12/2023 Timothy Burns Participate in second day of settlement conference        6.60   $4,620.00
                        (6.5); participate in post-conference meeting with J.
                        Bair re insurance strategy (.1);
    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 8 of 12
1/12/2023 Jesse Bair    Participate in day 2 of settlement conference (6.5);       6.60   $4,125.00
                        participate in post-conference meeting with T. Burns
                        re insurance strategy (.1);
1/12/2023 Jesse Bair    Correspondence with state court counsel re                 0.10     $62.50
                        insurance overview (.1);
1/13/2023 Kacy Gurewitz Supplemental analysis of proofs of claim to complete       0.30    $126.00
                        First State exposure analysis (.3);
1/13/2023 Jesse Bair    Return travel from mediation to Madison [billed at 1/2     7.20   $2,250.00
                        travel time] (7.2);
1/13/2023 Jesse Bair    Participate in portion of day 3 of the January             2.40   $1,500.00
                        settlement conference (2.4);
1/13/2023 Timothy Burns Participate in portion of day 3 of the January             2.40   $1,680.00
                        settlement conference (2.4);
1/13/2023 Timothy Burns Return travel from mediation to Madison [billed at 1/2     7.20   $2,520.00
                        travel time] (7.2);
1/14/2023 Jesse Bair    Review the Diocese's letter requesting adjournment         0.10     $62.50
                        of the RSA hearing and Order granting same (.1);
1/14/2023 Jesse Bair    Review the Committee's letter requesting a ruling on       0.10     $62.50
                        the Insurer 9019 motion (.1);
1/14/2023 Jesse Bair    Review correspondence with the Committee re                0.10     $62.50
                        recent settlement in another CVA case and potential
                        implications for this case (.1);
1/14/2023 Timothy Burns Begin preparations for second settlement conference        0.90    $630.00
                        in late January (.9);
1/16/2023 Jesse Bair    Review correspondence from I. Scharf re state court        0.10     $62.50
                        counsel meeting (.1);
1/17/2023 Jesse Bair    Review CNA's letter to the Court opposing the              0.20    $125.00
                        Committee's request for a ruling on the papers on the
                        Insurance 9019 motion (.1); review the Court's order
                        staying all litigation deadlines (.1);
1/17/2023 Timothy Burns Review Continental's letter to court re 9019 hearing       0.20    $140.00
                        (.1); additional analysis re insurance issues in
                        advance of next settlement conference (.1);
1/18/2023 Jesse Bair    Review agenda for Committee meeting (.1);                  1.30    $812.50
                        participate in conference with T. Burns re same (.1);
                        prepare for Committee meeting (.1); participate in
                        Committee meeting re case status, settlement
                        negotiations, and next-steps (.8); participate in post-
                        call with PSZJ and T. Burns re First State counter (.2);
1/18/2023 Timothy Burns Review correspondence from I. Scharf re upcoming           1.40    $980.00
                        Committee meeting (.1); meet with J. Bair re meeting
                        (.1); review agenda for Committee meeting (.1);
                        prepare for Committee meeting (.1); participate in
                        Committee meeting re case status, settlement
                        negotiations, and next steps (.8); participate in post-
                        call with PSZJ and J. Bair re same and First State
                        counter (.2);
1/19/2023 Timothy Burns Review correspondence with I. Scharf and state court       0.30    $210.00
                        counsel re First State counter (.2); review and
                        respond to correspondence with B. Michael re
                        upcoming settlement conference (.1);
    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                    Description: Exhibit A Invoice 01065, Page 9 of 12
1/19/2023 Jesse Bair      Review correspondence with I. Scharf and state court         0.20    $125.00
                          counsel re counter to First State (.1); review
                          insurance materials in preparation for upcoming
                          settlement conference (.1);
1/20/2023 Brian Cawley    Discuss status of case and strategy with J. Bair (.1);       0.10     $42.00
1/20/2023 Jesse Bair      Review CNA's letter to the Court re claim objection          0.10     $62.50
                          adjournment (.1);
1/20/2023 Jesse Bair      Review debtor letter to the Court re claim objection         0.10     $62.50
                          adjournment (.1);
1/20/2023 Jesse Bair      Conference with B. Cawley re case status and                 0.10     $62.50
                          insurance strategy (.1);
1/21/2023 Jesse Bair      Correspondence with T. Burns re New York                     0.10     $62.50
                          comparable settlement values (.1);
1/23/2023 Timothy Burns   Travel to Rochester from Miami for settlement                8.00   $2,800.00
                          conference [billed at 1/2 travel rate] (8.0);
1/23/2023 Jesse Bair      Travel to Rochester for settlement conference [billed        6.30   $1,968.75
                          at 1/2 travel rate] (6.3);
1/24/2023 Jesse Bair      Return travel to Madison from Rochester for                  6.20   $1,937.50
                          settlement conference [billed at 1/2 travel rate] (6.2);
1/24/2023 Jesse Bair      Prepare for settlement conference (.1); participate in       3.20   $2,000.00
                          settlement conference (3.1);
1/24/2023 Jesse Bair      Participate in call with I. Nasatir re First State counter   0.10     $62.50
                          (.1);
1/24/2023 Timothy Burns   Prepare for settlement conference (.2); participate in       3.50   $2,450.00
                          settlement conference (3.1); post-settlement
                          conference analysis re potential next-steps (.2);
1/24/2023 Timothy Burns   Return travel to Madison from Rochester for                  6.20   $2,170.00
                          settlement conference [billed at 1/2 travel rate] (6.2);
1/25/2023 Timothy Burns   Review correspondence with I. Scharf and the                 0.70    $490.00
                          Committee re mediation outcome (.1); participate in
                          Committee meeting re same and potential next-steps
                          (.6);
1/25/2023 Jesse Bair      Participate in conference with T. Burns re case              0.20    $125.00
                          strategy moving-forward (.2);
1/25/2023 Jesse Bair      Review agenda for upcoming Committee meeting                 0.10     $62.50
                          (.1);
1/25/2023 Jesse Bair      Participate in Committee meeting re outcome of               0.60    $375.00
                          settlement conference and strategy moving forward
                          (.6);
1/26/2023 Timothy Burns   Review and analysis of correspondence from state             0.40    $280.00
                          court counsel re valuation and settlement issues (.2);
                          participate in call with state court counsel re same
                          (.1); additional analysis re same (.1);
1/27/2023 Timothy Burns   Participate in call with J. Bair re settlement and           0.20    $140.00
                          exposure issues (.2);
1/27/2023 Jesse Bair      Participate in call with T. Burns re settlement strategy     0.50    $312.50
                          and CNA exposure analysis (.2); additional analysis
                          re same (.1); correspondence with T. Burns re same
                          (.1); review correspondence with I. Scharf and state
                          court counsel re same (.1);
    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                   Description: Exhibit A Invoice 01065, Page 10 of 12
1/29/2023 Jesse Bair      Analysis re potential insurance next-steps (.1);             0.10       $62.50
1/30/2023 Timothy Burns   Review agenda for state court counsel meeting (.1);          0.70      $490.00
                          review correspondence from I. Scharf re potential
                          stipulated judgment mediators (.1); participate in
                          state court counsel meeting re case strategy (.3);
                          conference with J. Bair re same and stipulated
                          judgment process (.2);
1/30/2023 Jesse Bair      Participate in portion of state court counsel meeting        0.50      $312.50
                          re case strategy (.3); participate in follow-up call with
                          T. Burns re same and stipulated judgment process
                          (.2);
1/31/2023 Jesse Bair      Review correspondence with I. Scharf and state court         0.10       $62.50
                          counsel re settlement and litigation strategy (.1);
1/31/2023 Jesse Bair      Participate in call with state court counsel and T.          0.10       $62.50
                          Burns re settlement strategy (.1);
1/31/2023 Jesse Bair      Review correspondence with I. Scharf and the                 0.10       $62.50
                          Committee re case update (.1);
1/31/2023 Timothy Burns   Review various correspondence with state court               0.60      $420.00
                          counsel and PSZJ re settlement issues (.3);
                          participate in call with state court counsel re same
                          (.1); participate in additional call with state court
                          counsel re same (.1); conference with J. Bair re same
                          (.1);
Total Hours and Fees                                                                  206.10 $107,396.75

                                             EXPENSES


Date                      Description                                                           Amount
1/1/2023                  Fourth Quarter 2022 PACER (Public Access to Court                        $9.60
                          Electronic Records)
1/9/2023                  CloudNine, database monthly hosting fee (December                       $47.13
                          2022)
1/10/2023                 Hotel, T. Burns (3 nights)                                             $562.22
1/10/2023                 Hotel, J. Bair (3 nights)                                              $506.49
1/10/2023                 Travel meal, J. Bair                                                     $7.85
1/10/2023                 Delta Airlines, J. Bair (MSN-ROC, Jan. 10-13)                          $877.20
1/10/2023                 Taxi, J. Bair (airport to hotel)                                        $25.50
1/10/2023                 Delta Airlines, T. Burns (MSN-ROC Jan. 9-13)                           $877.20
1/11/2023                 Travel meal, J. Bair                                                    $12.10
1/11/2023                 Uber, J. Bair (hotel to settlement conference)                          $62.91
1/11/2023                 Uber, J. Bair (settlement conference to hotel)                          $32.74
1/12/2023                 Uber, J. Bair (hotel to settlement conference)                          $62.91
1/12/2023                 Uber, J. Bair (settlement conference to hotel)                          $49.37
1/12/2023                 Travel Meal, T. Burns                                                    $7.45
1/13/2023                 Uber, J. Bair (hotel to settlement conference)                          $62.91
1/13/2023                 Uber, J. Bair (settlement conference to airport)                        $66.46
1/13/2023                 Travel meal, J. Bair                                                     $7.51
1/13/2023                 Airport parking, J. Bair                                                $40.00
    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                   Description: Exhibit A Invoice 01065, Page 11 of 12
1/23/2023             Delta Airlines, J. Bair (MSN-ROC, Jan. 23)                      $942.00
1/23/2023             American Airlines, T. Burns (MIA-ROC, Jan. 23)                  $304.00
1/23/2023             Hotel, T. Burns (1 night)                                       $287.17
1/23/2023             Hotel, J. Bair (1 night)                                        $250.44
1/23/2023             Travel Meal, J. Bair                                             $15.20
1/23/2023             Travel Meal, J. Bair                                              $5.09
1/23/2023             Cab, T. Burns (airport to hotel)                                 $50.00
1/23/2023             Uber, J. Bair (airport to hotel)                                 $30.51
1/24/2023             Uber, T. Burns (hotel to settlement conference)                  $65.53
1/24/2023             Uber, J. Bair (settlement conference to hotel)                   $34.66
1/24/2023             Uber, J. Bair (hotel to airport)                                 $65.38
1/24/2023             Travel Meal, T. Burns                                             $5.81
1/25/2023             Delta Airlines, T. Burns (ROC-MSN Jan. 25)                      $499.00
1/25/2023             Airport parking, J. Bair                                         $20.00
1/25/2023             Delta Airlines, J. Bair (ROC-MSN, Jan. 25)                      $942.00
Total Expenses                                                                      $6,834.34


                                 Timekeeper Summary
Name                                     Hours                  Rate                  Amount
Alyssa Turgeon                             1.40             $360.00                   $504.00
Brian Cawley                              12.00             $420.00                 $5,040.00
Jesse Bair                                26.90             $312.50                 $8,406.25
Jesse Bair                                45.30             $625.00                $28,312.50
Kacy Gurewitz                              7.00             $420.00                 $2,940.00
Karen Dempski                              0.60             $360.00                   $216.00
Leakhena Au                               20.40             $420.00                 $8,568.00
Nathan Kuenzi                              8.00             $420.00                 $3,360.00
Timothy Burns                             26.00             $350.00                 $9,100.00
Timothy Burns                             58.50             $700.00                $40,950.00



                                                           Total Due This Invoice: $114,231.09




    Case 2-19-20905-PRW, Doc 2222-1, Filed 09/15/23, Entered 09/15/23 14:06:46,
                   Description: Exhibit A Invoice 01065, Page 12 of 12
